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IN THE UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
MANUEL DE JESUS ROSARIO,

                                             Plaintiff,         No. 15-CV-6049 (LTS) (DCF)
                       -against-

MIS HIJOS DELI CORP., PALMA GROCERY CORP., 251 E.
123RD ST. REALTY LLC, JOSE PALMA, LEONIDA
COLLADO, and JUNIOR PALMA
                                             Defendants.

                                    NOTICE OF APPEAL

       Notice is hereby given that Defendant 251 E. 123rd St. Realty LLC (“Realty”), hereby
appeals to the United States Court of Appeals for the Second Circuit from the Order entered in
this action on the 27th day of September 2018, denying Realty’s motion for summary judgment as
to Plaintiff's NYLL claim against Realty.
Dated: New York, New York
       October 25, 2018
                                                    Respectfully submitted,

                                                    /s/ Argilio Rodriguez
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                                                    Attorneys for Defendants
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                                      Certificate of Service


        I, Argilio Rodriguez, hereby certify that on this 25th day of October 2018, I electronically
filed the foregoing Notice of Appeal with the clerk of the court.


                                                     /s/ Argilio Rodriguez
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